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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO.: 1:17-cv-20459-JLK

   DESIREE MARENGO,
   individually and on behalf of all
   others similarly situated,                                     CLASS ACTION

             Plaintiff,                                           JURY TRIAL DEMANDED

   v.

   MIAMI RESEARCH ASSOCIATES, LLC,
   d/b/a QPS MIAMI RESEARCH ASSOCIATES,
   a Florida corporation,

         Defendant.
   _______________________________________/

                          PLAINTIFF’S UNOPPOSED MOTION
                    FOR PRELIMINARY APPROVAL OF CLASS ACTION
                SETTLEMENT AND INCORPORATED MEMORANDUM OF LAW

             Plaintiff, Desiree Marengo (“Plaintiff”), individually and on behalf of all others similarly
   situated (identified herein as the “Settlement Class”), respectfully requests, pursuant to Fed. R.
   Civ. P. 23(e), that the Court enter an order (1) preliminarily approving the parties’ proposed Class
   Action Settlement Agreement and Release (the “Agreement”), attached hereto as Exhibit 1,
   certifying the Settlement Class, appointing Plaintiff Desiree Marengo as the class representative
   and Hiraldo P.A., Shamis & Gentile P.A. and Edwards Pottinger, LLC as Class Counsel, (2)
   approving the form of the Class Notice attached as Exhibit C to the Agreement and its
   dissemination to the Settlement Class by U.S. mail and website, and (3) setting dates for opt-outs,
   objections, and a fairness hearing.
        I.       INTRODUCTION
             Plaintiff Desiree Marengo alleges that in January 2017 she received three automated text
   message advertisements on her cellular telephone from Defendant Miami Research Associates,
   LLC (“MRA”). [DE 1, e.g. par. 25]. On February 5, 2017, Ms. Marengo filed a class action
   complaint against Defendant MRA alleging that MRA violated the TCPA, a federal privacy statute
   which affords consumers a private right of action, seeking statutory damages for the Class.
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           The Agreement was negotiated over the course of a full day court-ordered mediation
   conducted by mediator Rodney Max. Plaintiff and Class Counsel have investigated the facts and
   law underlying the claims asserted in the Action. Plaintiff’s Counsel also engaged in numerous
   discussions with Defendant’s counsel regarding the claims. Defendant continues to deny all
   material allegations and claims asserted in the Action and the Complaint, and it denies all
   allegations of wrongdoing and liability. Defendant further contends that the Action is not amenable
   to class certification and that Plaintiff and the class that it seeks to represent are not entitled to any
   form of damages or relief. In addition, Defendant maintains that it has meritorious defenses to all
   claims alleged in the Action and it is prepared to defend the Action. Only because of the risks,
   uncertainties, burden and expense of continued litigation, and not as an admission of any guilt,
   does Defendant desire to settle the Action on the terms set forth herein.
           Plaintiff and her counsel believe that the claims asserted in the Action have merit.
   However, taking into account the risks of continued litigation, as well as the delays and
   uncertainties inherent in such litigation and any subsequent appeal, Plaintiff and her counsel
   believe that it is desirable that the Action be fully and finally compromised, settled and terminated
   now with prejudice, and forever barred pursuant to the terms and conditions set forth in the
   Settlement Agreement. Plaintiff and her counsel have concluded that the terms and conditions of
   the Settlement Agreement are fair, reasonable and adequate to the proposed class, and that it is in
   the best interests of the proposed class to settle the Action. The Agreement is the result of extensive
   mediation and negotiations.
           The Agreement provides, inter alia, for a Settlement Fund requiring Defendant to pay
   $130.00 per text message to Settlement Class members who submit Claims and potential awards
   of attorneys’ fees and incentive awards to the named Plaintiff, as well as injunctive relief. The
   Settlement requires Defendant to make available up to $1,236,300 to pay timely valid claim
   submissions. The parties will create a website and notice will be sent by U.S. mail to those class
   members for whom mailing addresses can be determined. The Agreement provides for a release
   of claims as set forth therein. A proposed Preliminary Approval Order is attached as Exhibit E to
   the Settlement Agreement and will be submitted to the Court electronically as directed. If
   approved, the Agreement will produce an efficient resolution to a hard-fought litigation. Through
   this unopposed motion, Plaintiff seeks entry of an order providing for the following:



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            1. Preliminary approval of the Agreement;
            2. Preliminary certification of the Settlement Class, and appointment of Plaintiff as Class
               Representative and Plaintiff’s counsel as Class Counsel;
            3. Approval of Angeion Group, as the Settlement Administrator;
            4. Approval of the Settlement Class Notice Program;
            5. Approval of the Claims process set forth in the Agreement; and
            6. The scheduling of a Fairness Hearing.
            Plaintiff submits that the proposed Agreement is fair and within the range of similar TCPA
   class action settlements given Defendant’s financial circumstances as outlined below.           The
   Agreement provides relief to the Settlement Class where their recovery, if any, would otherwise
   be uncertain, especially given Defendant’s willingness to continue its vigorous defense of the case.
   The Agreement was reached only after written discovery and extensive arms-length negotiations.
   For these reasons, and as further discussed below, Plaintiff requests the Court’s preliminary
   approval of the Agreement.
      II.      BACKGROUND
            A. Facts
            The Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”), and its implementing
   regulations were enacted by Congress and the Federal Communications Commission to “offer
   consumers greater protection from intrusive telemarketing calls….” Defendant is a Florida limited
   liability company whose principal office is in Miami, Florida. Defendant directs, markets, and
   provides its business activities throughout the State of Florida. Plaintiff alleges that Defendant
   obtained Settlement Class cell phone numbers and sent them text message invitations encouraging
   future purchase or investment in property, goods, or services. Plaintiff was the alleged recipient
   of three (3) text messages from Defendant. Plaintiff filed the instant action alleging violations of
   the TCPA.
            B. Procedural History
            On or about February 5, 2017, Plaintiff filed her Complaint in the United States District
   Court for the Southern District of Florida alleging that Defendant improperly sent text messages
   in violation of the TCPA. [DE 1]. Marengo alleged that she and members of the class received
   text messages from MRA without prior express consent or express written consent, which harmed



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   her and the class (the “Allegations”). Plaintiff sought damages under the TCPA on behalf of
   herself and the following proposed class:
                  All persons within the United States who, within the four years prior
                  to the filing of this Complaint, received a telephone call or text
                  message made through the use of any automatic telephone dialing
                  system or an artificial or prerecorded voice, from Defendant or
                  anyone on Defendant’s behalf, to said person’s cellular telephone
                  number, without emergency purpose and without the recipient’s
                  prior express consent.

          On March 22, 2017, Defendant filed an Answer and Affirmative Defenses in response to
   Plaintiff’s Complaint. [DE 10]. On June 8, 2017, the Court entered a scheduling order and
   discovery commenced shortly thereafter. Plaintiff served Requests for Production, Requests for
   Admissions, and Interrogatories on Defendant. Defendant responded to the written discovery and
   produced hundreds of pages of documents. Thereafter, the parties met and conferred several times
   concerning Plaintiff’s contention that Defendant’s document production was deficient. Plaintiff
   ultimately moved to compel discovery [DE 25]. Defendant opposed the motion [DE 29] and
   Plaintiff filed a reply in support of the motion [DE 30] which concluded the parties’ briefing. The
   Court set a hearing on the motion to compel for October 2, 2017. The parties requested and
   obtained a continuance of the hearing on the motion to compel to afford an opportunity to attend
   court-ordered mediation.
                                       Settlement Negotiations
          The parties attended mediation on October 25, 2017, in which they reached an agreement
   in principle to settle the litigated claims in this action on a class-wide basis, subject to Court
   approval. The Parties have worked diligently to draft and finalize a written settlement agreement
   and to prepare a motion seeking preliminary approval from the Court of the class-wide settlement.
   Declaration of Manuel S. Hiraldo (“Hiraldo Decl.”), attached as Exhibit 2, ¶ 14.
          D. Defendant’s Financial Circumstances
          Although Defendant denies any liability or wrongdoing related to this Action, Defendant
   sought to attend court-ordered mediation early because of its limited financial resources. Hiraldo
   Decl., ¶ 15. Defendant would suffer millions of dollars in damages if it were exposed to full
   statutory damages under the TCPA. Hiraldo Decl., ¶ 15. The Settlement Fund is significant given
   Defendant’s limited financial resources. Id. Defendant’s willingness to make such a significant



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   amount available to the Settlement Class supports a finding that the Agreement is a just and fair
   resolution of the claims in this litigation.
       III.        SUMMARY OF THE SETTLEMENT
              If approved by the Court after notice to the Settlement Class, the parties’ settlement
   agreement would resolve this action and the controversy regarding all text messages sent by
   Defendant.
              Some of the material terms of the Agreement are as follows:
              A.     The Settlement Class:        Pursuant to Fed. R. Civ. P. 23, the Parties agree to
                     certification, for purposes of the Settlement and the Agreement only, of the
                     following Settlement Class: All persons (i) identified in the Settlement Class List
                     (ii) who received a text message from MRA relating to the investigational bird flu
                     vaccine study (“flu study”) (iii) between January 1, 2017 and February 1, 2017.
                     Persons meeting this definition are referenced herein collectively as the “Settlement
                     Class,” and individually as “Settlement Class Members.” This class specifically
                     excludes persons in the following categories: (A) individuals who are or were
                     during the Class Period officers or directors of MRA or any of its respective
                     affiliates; (B) the district judge and magistrate judge presiding over this case, the
                     judges of the United States Court of Appeals for the Eleventh Circuit, their spouses,
                     and persons within the third degree of relationship to either of them; and (C) all
                     persons who file a timely and proper request to be excluded from the Settlement
                     Class. Agreement, I.GG.
              B.     Injunctive Relief: Defendant agrees to the entry of an injunction. Specifically,
                     Defendant will not use an automatic telephone dialing system to text message
                     telephone numbers assigned to cellular telephones without express permission of
                     the called party. Agreement, II.B.2.
              C.     The Class Representative and Class Counsel: The parties have agreed that Plaintiff
                     are the Class Representatives and that Hiraldo, P.A., Shamis & Gentile P.A. and
                     Edwards Pottinger LLC are Class Counsel for the Settlement Class. Agreement, I.J.
              D.     Settlement Fund: MRA has agreed to the total maximum amount that it will make
                     available to cover the Claim Settlement Payments, attorneys’ fees and Incentive
                     Payment as settlement in full of this Action. Agreement, I.JJ. Defendant agrees to

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              pay $130 for each valid claim submission and will make available up to
              $1,236,300.00 to pay valid claim submissions. Defendant will also pay, form the
              Settlement Fund, reasonable attorneys’ fees and costs (“Attorneys’ Fee Awards”),
              incentive awards to the Plaintiff (“Incentive Awards”), and notice and
              administration costs (“Notice And Administration Costs”). Id., I.H, I, and JJ.
        E.    Monetary Relief to the Members of the Settlement Class:           Settlement Class
              Members who submit a valid and timely Claim Form, shall receive a Claim
              Settlement Payment in the amount of $130.00. Id., I.G and II.B.1.
        F.    Class Notice: The parties have agreed to notify the Settlement Class about the
              settlement by sending the notice and claim form by U.S. mail. Id., I.K and II.B.
              The notice includes instructions about opting out, objecting, or submitting a claim
              form to the Settlement Administrator by mail. Id. In addition, the parties have
              agreed to publish notice in a manner that satisfies due process. Id. Finally, the
              parties will cause to be created a settlement website that will provide information
              and relevant documents related to the Settlement, including a downloadable Claim
              Form that must be submitted by U.S. Mail. Id. The notice program is designed to
              provide the Settlement Class with important information regarding the settlement
              and their rights thereunder, including a description of the material terms of the
              settlement; a date by which Settlement Class members may exclude themselves
              from or “opt-out” of the Settlement Class; a date by which they may object to the
              Agreement, Class Counsel’s fee application and/or the request for an Incentive
              Award; the date of the Fairness Hearing; information regarding the Settlement
              Website where Settlement Class members may access the Agreement, and other
              important documents. Id. A copy of the proposed Class Notice is attached as
              Exhibit C to the Agreement.
        G.     Claims:
              1.     The class notice includes a simple Claim Form for submitting claims for
                     cash Awards. The Claim Form is attached to the Settlement Agreement as
                     Exhibit A. The Claim Form submitted by each class member must be
                     signed under penalty of perjury and submitted by hard copy. A claiming
                     class member must provide the following information: (1) name; (2) current

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                      address; (3) cellular telephone number(s) at which she or he was sent a text
                      message; and (4) a current contact telephone number. Once a Settlement
                      Class member submits a Claim Form that is approved by the Settlement
                      Administrator, the Settlement Class Member will receive a cash payment.
                      Untimely Claim Forms will be rejected and those Settlement Class members
                      will not receive a payment. If those same Settlement Class members also
                      fail to timely opt-out, they will remain in the Settlement Class and their
                      claims will be released. Settlement Class Claimants will be sent their
                      Settlement Fund Payments to the address they submitted on their Claim
                      Form.
               2.     Settlement Administrator. The Parties, subject to approval of the Court,
                      have selected Angeion Group (“Angeion”) as the Settlement Administrator.
                      See Hiraldo Decl., at ¶ 16. In order to locate Class Members, Angeion will
                      conduct a historical reverse lookup of telephone numbers to determine the
                      mailing address of the owner of the number at the time a text message was
                      transmited by Defendant. See Agreement at III.A. Once the Class Members
                      are identified, Angeion will be responsible for, among other things:
                                  a. The CAFA Notice as required by statute;
                                  b. The Settlement Class Notice Program as set forth in the
                                     Agreement;
                                  c. The Settlement Website; and
                                  d. The claims’ process set forth in Section VIII of the
                                     Agreement as well as any additional processes agreed to by
                                     Class Counsel and Defendant Counsel and subject to the
                                     Court’s supervision and direction as circumstances may
                                     require.
        Agreement, III.
        H.     Release: In consideration of the relief provided by the Settlement, the Settlement
               Class will release all claims that were brought or could have been brought, as
               defined in the Agreement, in this action against Defendant and the released parties.
               Agreement, V.

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            I.      Attorneys’ Fees and Costs and Class Representative Incentive Payment:         Class
                    Counsel will petition the Court for an award of reasonable attorneys’ fees plus
                    expenses not to exceed Three Hundred Ninety Thousand Dollars ($390,000.00), to
                    be paid by MRA from the Settlement Fund. Agreement, II.C.1. This award shall be
                    Class Counsel’s total recovery for attorneys’ fees, costs, and/or adequately
                    supported expenses of any kind. In addition, Class Counsel will request approval
                    of an incentive payment not to exceed $7,500 to be paid to the Class Representative.
                    Agreement, II.C.2.
      IV.        THE PROPOSED SETTLEMENT SHOULD BE PRELIMINARILY APPROVED
                 A. Legal Standard
            As a matter of public policy, courts favor settlements of class actions for their earlier
   resolution of complex claims and issues, which promotes the efficient use of judicial and private
   resources. Bennett v. Behring Corp., 737 F.2d 982, 986 (11th Cir. 1984). The policy favoring
   settlement is especially relevant in class actions and other complex matters, where the inherent
   costs, delays and risks of continued litigation might otherwise overwhelm any potential benefit the
   class could hope to obtain. See, e.g., Ass’n for Disabled Americans, Inc. v. Amoco Oil Co., 211
   F.R.D. 457, 466 (S.D. Fla. 2002) (“There is an overriding public interest in favor of settlement,
   particularly in class actions that have the well-deserved reputation as being most complex.”) (citing
   Cotton v. Hinton, 559 F.2d 1326, 1331 (5th Cir. 1977)); see also 4 Newberg on Class Actions §
   11.41 (4th ed. 2002) (citing cases).
            Approval of a class action settlement is a two-step process. Fresco v. Auto Data Direct,
   Inc., 2007 WL 2330895, at *4 (S.D. Fla. 2007). Preliminary approval is the first step, requiring
   the Court to “make a preliminary determination on the fairness, reasonableness, and adequacy of
   the settlement terms.” Id. (citations omitted). In the second step, after notice to settlement class
   members and time and opportunity for them to object or otherwise be heard, the court considers
   whether to grant final approval of the settlement as fair and reasonable under Rule 23. Id.
            The standard for granting preliminary approval is low—a proposed settlement will be
   preliminarily approved if it falls “within the range of possible approval” or, otherwise stated, if
   there is “probable cause” to notify the class of the proposed settlement and “to hold a full-scale
   hearing on its fairness[.]” In re Mid-Atl. Toyota Antitrust Litig., 564 F. Supp. 1379, 1384 (D. Md.
   1983) (quoting MANUAL FOR COMPLEX LITIGATION § 1.46 at 62, 64-65 (1982)); see also

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   NEWBERG ON CLASS ACTIONS § 13:13 (5th ed. 2016) (“Bearing in mind that the primary
   goal at the preliminary review stage is to ascertain whether notice of the proposed settlement
   should be sent to the class, courts sometimes define the preliminary approval standard as
   determining whether there is ‘probable cause’ to submit the [settlement] to class members and [to]
   hold a full-scale hearing as to its fairness.”). Thus, “[p]reliminary approval is appropriate where
   the proposed settlement is the result of the parties’ good faith negotiations, there are not obvious
   deficiencies, and the settlement falls within the range of reason.” In re Checking Account Overdraft
   Litig., 275 F.R.D. 654, 661-62 (S.D. Fla. 2011).
             Class Counsel and Defendant respectfully request that the Court take the first step in the
   process and grant preliminary approval. The Agreement is clearly within the range of
   reasonableness, and satisfies all standards for preliminary approval.
                B. Recovery for Class Members
             As indicated above, Defendant has agreed to make available up to $1,236,300.00 to fund
   Claim Settlement Payments of $130 for each Claimant and will fully fund all costs of settlement
   administration, including all costs of notice, attorney fees, costs, and incentive award.
             Additionally, Defendant has agreed to change its business practices to ensure compliance
   with the TCPA. These changes include policies and practices to ensure that Defendant obtains
   adequate consent from individuals before sending text messages to those individuals. Agreement,
   II.B.2.
                C. The Criteria for Preliminary Approval Have Been Satisfied
             Each of the relevant factors weighs heavily in favor of preliminary approval of the
   Agreement. First, the Agreement was reached in the absence of collusion, and is the product of
   good-faith, informed and arm’s length negotiations by competent counsel. Furthermore, a
   preliminary review of the factors related to the fairness, adequacy and reasonableness of the
   Agreement demonstrates that it fits well within the range of reasonableness, such that approval is
   appropriate.
             Any settlement requires the parties to balance the merits of the claims and defenses asserted
   against the attendant risks of continued litigation and delay. Plaintiff and Class Counsel believe
   that the claims asserted are meritorious and that Plaintiff would prevail if this matter proceeded to
   trial. Defendant contends that Plaintiff’s claims are unfounded, denies any liability, and has shown
   a willingness to litigate vigorously. The Parties concluded that the benefits of the Agreement

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   outweigh the risks and uncertainties attendant to continued litigation that include, but are not
   limited to, the risks, time and expenses associated with completing trial and any appellate review.
               D. The Agreement is the Product of Good Faith, Arms-Length Negotiations
           A class action settlement should be approved so long as a district court finds that “the
   settlement is fair, adequate and reasonable and is not the product of collusion between the parties.”
   Cotton v. Hinton, 559 F.2d 1326, 1330 (5th Cir. 1977); see also Lipuma v. American Express Co.,
   406 F. Supp. 2d 1298, 318-19 (S.D. Fla. 2005) (approving class settlement where the “benefits
   conferred upon the Class are substantial, and are the result of informed, arms-length negotiations
   by experienced Class Counsel”). The Agreement here is the result of significant, arm’s-length
   negotiations between experienced attorneys who are familiar with class action litigation and with
   the legal and factual issues of this action.
           Class Counsel effectively represented Plaintiff throughout the litigation and conducted a
   thorough analysis of Plaintiff’s claims based upon their investigation and documents produced by
   Defendant through discovery. Accordingly, Class Counsel possessed all of the information
   necessary to evaluate the case and reach a fair and reasonable compromise.
           Likewise, the Parties enlisted the services of an experienced court-appointed neutral
   mediator, Rodney Max, to facilitate negotiations and ensure that the settlement was fair, reasonable
   and adequate.
               E. The Facts Support a Preliminary Determination that the Settlement is Fair,
                  Adequate, and Reasonable

           Class Counsel are confident in the strength of Plaintiff’s case, but are also pragmatic in
   their awareness of the various defenses available to Defendant, and the risks inherent in trial and
   post-judgment appeal. The success of Plaintiff’s claims, turn on questions that would arise at
   summary judgment, trial, and during an inevitable post-judgment appeal. Further, it still remains
   unclear whether Plaintiff would be able to certify a class for resolution of the asserted claims at
   trial. Under the circumstances, Class Counsel appropriately determined that the Agreement
   outweighs the risks of continued litigation. Even if Plaintiff and the Settlement Class prevailed at
   trial, any recovery could be delayed for years by an appeal. Lipuma, 406 F. Supp. 2d at 1322
   (likelihood that appellate proceedings could delay class recovery “strongly favor[s]” approval of
   a settlement). The Agreement provides substantial relief to Settlement Class Members, without
   further delay.

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          When evaluating “the terms of the compromise in relation to the likely benefits of a
   successful trial . . . the trial court is entitled to rely upon the judgment of experienced counsel for
   the parties.” Cotton, 559 F.2d at 1330. “Indeed, the trial judge, absent fraud, collusion, or the like,
   should be hesitant to substitute its own judgment for that of counsel.” Id. Courts have determined
   that settlements may be reasonable even where plaintiffs recover only part of their actual losses.
   See Behrens v. Wometco Enterprises, Inc., 118 F.R.D. 534, 542 (S.D. Fla. 1988) (“[T]he fact that
   a proposed settlement amounts to only a fraction of the potential recovery does not mean the
   settlement is unfair or inadequate”). “The existence of strong defenses to the claims presented
   makes the possibility of a low recovery quite reasonable.” Lipuma, 406 F. Supp. 2d at 1323.
          The cash recovery in this case is more than reasonable, given Defendant’s financial
   circumstances as discussed above, the complexity of the litigation and the significant risks and
   barriers that loomed in the absence of settlement including, but not limited to, a motion for class
   certification, a motion for summary judgment, Daubert motions, trial, and appellate review
   following a final judgment. There can be no doubt that the Agreement is a fair and reasonable
   recovery for the in light of Defendant’s defenses, the uncertainty of class certification, and the
   challenging and unpredictable path of litigation that Plaintiff and all Settlement Class members
   would face absent a settlement.
              F. Certification of the Settlement Class is Appropriate
          For settlement purposes, Plaintiff and Class Counsel respectfully request that the Court
   certify the Settlement Class as defined above. “Confronted with a request for settlement-only class
   certification, a district court need not inquire whether the case, if tried, would present intractable
   management problems . . . for the proposal is that there be no trial.” Amchem Products, Inc. v.
   Windsor, 521 U.S. 591, 620 (1997). Certification of the proposed Settlement Class will allow
   notice to inform Settlement Class members of the existence and terms of the Agreement, of their
   right to object and be heard on its fairness, of their right to opt-out, and of the date, time and place
   of the Final Approval Hearing. See Manual for Compl. Lit., at §§ 21.632, 21.633. For the reasons
   set forth below, certification is appropriate under Rule 23(a) and (b)(3).
          Certification under Rule 23(a) of the Federal Rules of Civil Procedure requires that (1) the
   class is so numerous that joinder of all members is impracticable; (2) there are questions of law or
   fact common to the class; (3) the claims or defenses of the representative parties are typical of the
   claims or defenses of the class; and (4) the representative parties will fairly and adequately protect

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   the interests of the class. Under Rule 23(b)(3), certification is appropriate if the questions of law
   or fact common to the members of the class predominate over individual issues of law or fact and
   if a class action is superior to other available methods for the fair and efficient adjudication of the
   controversy.
          The numerosity requirement of Rule 23(a) is satisfied because the Settlement Class consists
   of approximately 9,500 individuals, and joinder of all such persons is impracticable. See Fed. R.
   Civ. P. 23(a)(1); Kilgo v. Bowman Trans., 789 F.2d 859, 878 (11th Cir. 1986) (numerosity satisfied
   where plaintiffs identified at least 31 class members “from a wide geographical area”).
          “Commonality requires the plaintiff to demonstrate that the class members ‘have suffered
   the same injury,’” and the plaintiff’s common contention “must be of such a nature that it is capable
   of classwide resolution – which means that determination of its truth or falsity will resolve an issue
   that is central to the validity of each one of the claims in one stroke.” Wal-Mart Stores, Inc. v.
   Dukes, __ U.S. __, 131 S. Ct. 2541, 2551 (2011) (citation omitted). Here, the commonality
   requirement is readily satisfied. There are multiple questions of law and fact – centering on
   Defendant’s invitational text messages – that are common to the Settlement Class, that are alleged
   to have injured all Settlement Class members in the same way, and that would generate common
   answers.
          For similar reasons, Plaintiff’s claims are reasonably coextensive with those of the absent
   class members, such that the Rule 23(a)(3) typicality requirement is satisfied. See Kornberg v.
   Carnival Cruise Lines, Inc., 741 F.2d 1332, 1337 (11th Cir. 1984) (typicality satisfied where
   claims “arise from the same event or pattern or practice and are based on the same legal theory”);
   Murray v. Auslander, 244 F.3d 807, 811 (11th Cir. 2001) (named plaintiffs are typical of the class
   where they “possess the same interest and suffer the same injury as the class members”). Plaintiff
   is typical of absent Settlement Class members because she received a text message from
   Defendant, and claims to have suffered the same injuries.
          Plaintiff and Class Counsel also satisfy the adequacy of representation requirement.
   Adequacy under Rule 23(a)(4) relates to (1) whether the proposed class representative has interests
   antagonistic to the class; and (2) whether the proposed class counsel has the competence to
   undertake this litigation. Fabricant, 202 F.R.D. at 314. The determinative factor “is the
   forthrightness and vigor with which the representative party can be expected to assert and defend
   the interests of the members of the class.” Lyons v. Georgia-Pacific Corp. Salaried Employees

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   Ret. Plan, 221 F.3d 1235, 1253 (11th Cir. 2000) (internal quotation marks omitted). Plaintiff’s
   interests are coextensive with, not antagonistic to, the interests of the Settlement Class, because
   Plaintiff and the absent Settlement Class Members have the same interest in the relief afforded by
   the Settlement, and the absent Settlement Class Members have no diverging interests.
          Further, Plaintiff and the Settlement Class are represented by qualified and competent Class
   Counsel who are well-respected members of the legal community, and who have experience in
   the areas of consumer rights and class action litigation. They have litigated, and are presently
   litigating, multiple cases nationally, and have the resources necessary to conduct litigation of this
   nature. See Declaration of Seth Lehrman, attached as Exhibit 3, Declaration of Manuel S. Hiraldo,
   attached as Exhibit 2, and Declaration of Andrew Shamis, attached as Exhibit 4. Class Counsel,
   Manuel S. Hiraldo and Seth Lehrman, were recently appointed as class attorneys, along with co-
   counsel, in the contested matter of Mohamed v. Off Lease Only, Inc. See No. 15-cv-23352, 2017
   U.S. Dist. LEXIS 89031 (S.D. Fla. June 8, 2017) (“we find that Plaintiff's counsel will adequately
   protect the interests of the absent class members. Plaintiff's attorneys are experienced in
   prosecuting class actions and have demonstrated familiarity with the TCPA. Counsel has also
   demonstrated that they will capably advocate on Plaintiff's behalf, as reflected by the substantial
   motion practice in this action. Accordingly, we find the adequacy requirement of Rule 23(a)(4) to
   be satisfied with respect to Plaintiff and his attorneys”). Additionally, Class Counsel, Andrew
   Shamis, is counsel in a TCPA matter that recently received preliminary approval of an
   $8,000,000.00 settlement on behalf of a class of 80,000 text message recipients. See Gottlieb v.
   Citgo Petroleum Cop, No. 16-cv-81911, D.E. 61. Seth Lehrman is an experienced class action
   attorney who has been appointed class counsel, has won contested certification, obtained court
   approval of class action settlements, and has tried a class action case with co-counsel. See Lehrman
   Decl., ¶¶ 8 - 14. In all, Class Counsel have diligently investigated and dedicated substantial time
   and financial resources to the investigation and prosecution of the claims at issue. Id., at 17 and
   19.
          Rule 23(b)(3) requires that “[c]ommon issues of fact and law . . . ha[ve] a direct impact on
   every class member’s effort to establish liability that is more substantial than the impact of
   individualized issues in resolving the claim or claims of each class member.” Sacred Heart Health
   Sys., Inc. v. Humana Military Healthcare Servs., Inc., 601 F.3d 1159, 1170 (11th Cir. 2010)
   (internal quotation marks omitted). Plaintiff readily satisfies the Rule 23(b)(3) predominance

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   requirement because liability questions common to all Settlement Class members substantially
   outweigh any possible issues that are individual to each Settlement Class member. Further,
   resolution of thousands of claims in one action is far superior to individual lawsuits, because it
   promotes consistency and efficiency of adjudication. See Fed. R. Civ. P. 23(b)(3). For these
   reasons, the Court should certify the Settlement Class.
              G. The Proposed Notice Plan Should be Preliminarily Approved
          “Rule 23(e)(1)(B) requires the court to direct notice in a reasonable manner to all class
   members who would be bound by a proposed settlement, voluntary dismissal, or compromise
   regardless of whether the class was certified under Rule 23(b)(1), (b)(2), or (b)(3).” Manual for
   Compl. Lit. § 21.312 (internal quotation marks omitted). The best practicable notice is that which
   is “reasonably calculated, under all the circumstances, to apprise interested parties of the pendency
   of the action and afford them an opportunity to present their objections.” Mullane v. Cent. Hanover
   Bank & Trust Co., 339 U.S. 306, 314 (1950). To satisfy this standard, “[n]ot only must the
   substantive claims be adequately described but the notice must also contain information reasonably
   necessary to make a decision to remain a class member and be bound by the final judgment or opt-
   out of the action.” Twigg v. Sears, Roebuck & Co., 153 F.3d 1222, 1227 (11th Cir. 1998) (internal
   quotation marks omitted); see also Manual for Compl. Lit., § 21.312 (listing relevant information).
          The Notice program satisfies all of these criteria. As recited in the Settlement and above,
   the proposed notice plan will inform Settlement Class members of the substantive terms of the
   Agreement. It will advise Settlement Class members of their options for remaining part of the
   Settlement Class, for objecting to the Agreement, Class Counsel’s Attorneys’ fee application
   and/or request for Service Award, or for opting-out of the Agreement, and how to obtain additional
   information about the Agreement. The notice plan is designed to reach a high percentage of
   Settlement Class members, and exceeds the requirements of Constitutional Due Process.
   Therefore, the Court should approve the Notice Program and the form and content of the Notices.
              H. Proposed Scheduling of Events
          In connection with preliminary approval of the Agreement, Plaintiff respectfully submits
   that the Court should also set a date and time for the Fairness Hearing. Plaintiff proposes the
   following other dates:




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                        Event                                             Date
    Deadline for Settlement Administrator to          60 days after the Preliminary Approval Order
    complete Class Notice Program. Agreement          has been executed and entered by the Court
    at I.L; II(B)(1).                                 and received by counsel for the Parties (the
                                                      “Notice Deadline”)

    Deadline for opting-out of Settlement and         30 days after the Notice Deadline
    submission of objections. Agreement at I(Z);
    I(Y).

    The last day that Settlement Class Members        60 days after the Notice Deadline
    may submit a Claim Forms. Agreement at
    I(D).

    Deadline for filing papers in support of Final    45 days after the Notice Deadline
    Approval of the Settlement and Class
    Counsel’s and application for an award of
    attorneys’ fees and expenses.

    Responses to Objections.                          7 days prior to the Fairness Hearing

    The Fairness Hearing                              Approximately 90 days after the Preliminary
                                                      Approval Date


      V.      CONCLUSION
           Based on the foregoing, Plaintiff, Class Counsel, respectfully request that the Court: (1)
   grant preliminary approval of the Agreement; (2) certify for settlement purposes only the proposed
   Settlement Class, pursuant to Rule 23(b)(3) and (e) of the Federal Rules of Civil Procedure; (3)
   approve the Settlement Class Notice Program set forth in the Agreement and approve the form and
   content of the notices and Claim Form, attached to the Agreement; (4) approve and order the opt-
   out and objection procedures set forth in the Agreement; (5) appoint Plaintiff Desiree Marengo as
   Class Representative; (6) appoint as Class Counsel the undersigned counsel; and (7) schedule a
   Fairness Hearing. A Proposed Preliminary Approval Order is attached as Exhibit E to the
   Settlement Agreement.
           WHEREFORE, Plaintiff, respectfully requests an order granting the instant motion and
   for such other relief the Court deems appropriate under the circumstances.




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                                 LOCAL RULE 7.1 CERTIFICATE
          Pursuant to Local Rule 7.1, I hereby certify that counsel for Defendant does not oppose the
   instant motion or relief requested herein.


   Dated: December 15, 2017                     Respectfully submitted,

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                                                Counsel for Plaintiff




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                                  CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on December 15, 2017, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
   is being served this day on all counsel of record via transmission of Notice of Electronic Filing
   generated by CM/ECF.

                                               /s/ Seth M. Lehrman
                                               Seth M. Lehrman




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